2:21-cv-03603-BHH-MGB   Date Filed 11/02/21   Entry Number 1   Page 1 of 16
2:21-cv-03603-BHH-MGB   Date Filed 11/02/21   Entry Number 1   Page 2 of 16
2:21-cv-03603-BHH-MGB   Date Filed 11/02/21   Entry Number 1   Page 3 of 16
2:21-cv-03603-BHH-MGB   Date Filed 11/02/21   Entry Number 1   Page 4 of 16
2:21-cv-03603-BHH-MGB   Date Filed 11/02/21   Entry Number 1   Page 5 of 16
2:21-cv-03603-BHH-MGB   Date Filed 11/02/21   Entry Number 1   Page 6 of 16
2:21-cv-03603-BHH-MGB   Date Filed 11/02/21   Entry Number 1   Page 7 of 16
2:21-cv-03603-BHH-MGB   Date Filed 11/02/21   Entry Number 1   Page 8 of 16
2:21-cv-03603-BHH-MGB   Date Filed 11/02/21   Entry Number 1   Page 9 of 16
2:21-cv-03603-BHH-MGB   Date Filed 11/02/21   Entry Number 1   Page 10 of 16
2:21-cv-03603-BHH-MGB   Date Filed 11/02/21   Entry Number 1   Page 11 of 16
2:21-cv-03603-BHH-MGB   Date Filed 11/02/21   Entry Number 1   Page 12 of 16
2:21-cv-03603-BHH-MGB   Date Filed 11/02/21   Entry Number 1   Page 13 of 16
2:21-cv-03603-BHH-MGB   Date Filed 11/02/21   Entry Number 1   Page 14 of 16
2:21-cv-03603-BHH-MGB   Date Filed 11/02/21   Entry Number 1   Page 15 of 16
2:21-cv-03603-BHH-MGB   Date Filed 11/02/21   Entry Number 1   Page 16 of 16
